
Appeal from the Circuit Court, Wayne County; Lester F. Williamson, Judge.
George T. Dickerson, Roy Farrell, and Thomas J. Lowe, Jr., Waynesboro, for appellant.
Mike Moore, Atty. Gen. by DeWitt Allred, Sp. Asst. Atty. Gen., Jackson, for appellee.
Before HAWKINS, P.J., and SULLIVAN and ZUCCARO, JJ.
AFFIRMED.
ROY NOBLE LEE, C.J., DAN M. LEE, P.J., and PRATHER, ROBERTSON and ANDERSON, JJ., concur.
PITTMAN, J., not participating.
